           Case 1:11-cv-00395-WDS-LFG Document 14 Filed 07/21/11 Page 1 of 2



 1
                                UNITED STATES DISTRICT COURT
 2                                 DISTRICT OF NEW MEXICO
 3   Tim Pairsh,                                    ) Case No. 1:11-cv-00395-WDS-LFG
 4                                                  )
                          Plaintiff,                )
 5                                                  )
 6          vs.                                     )
                                                    )
 7   NCO Financial Systems, Inc.,                   )
 8
                                                    )
                          Defendant.                )
 9                                                  )
10

11
                                       NOTICE OF SETTLEMENT

12          NOTICE IS HEREBY GIVEN that this case has been settled. Plaintiff Tim Pairsh
13
     and Defendant NCO Financial Systems, Inc., anticipate filing a stipulation of dismissal of
14

15
     this action in its entirety with prejudice within 30 days.

16          The parties jointly request that all pending dates and filing requirements be
17
     vacated and that the Court set a deadline on or after August 25, 2011, for filing
18
     dispositional documents.
19

20                                                 Respectfully submitted,
21
                                                   s/Larry Leshin
22                                                 Larry Leshin
                                                   Weisberg & Meyers, LLC
23
                                                   1216 Indiana Street, NE
24                                                 Albuquerque, NM 87110
                                                   Telephone: (888) 595-9111
25
                                                   Email: lleshin@attorneysforconsumers.com
26
                                                   Counsel for Plaintiff Tim Pairsh
27

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                                            Notice of Settlement

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           Case 1:11-cv-00395-WDS-LFG Document 14 Filed 07/21/11 Page 2 of 2



 1

 2
                                                   s/Nathan H. Mann
 3                                                 Nathan H. Mann
 4                                                 Gallagher, Casados & Mann, P.C.
                                                   317 Commercial NE, 2nd Floor
 5                                                 Albuquerque, NM 87102
 6                                                 Telephone: (505) 243-7848
                                                   Email: nmann@gcmlegal.com
 7

 8
                                                   Counsel for     Defendant   NCO    Financial
                                                   Systems, Inc.
 9

10

11   Filed electronically on this 21st day of July, 2011, with:
12
     United States District Court CM/ECF system
13
     Notification sent electronically via the Court’s ECF system on this 21st day of July, 2011
14   to:
15
     Nathan Mann
16   Gallagher, Casados & Mann, P.C.
17   317 Commercial NE, 2nd Floor
     Albuquerque NM 87102
18

19
     By: s/Jessica DeCandia
20       Jessica DeCandia
21

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                                            Notice of Settlement

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